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                              UNITED STATES DISTRICT COURT
                             SOUTHERN DISTRICT OF NEW YORK

  Mark Nunez, et al.,

                          Plaintiffs,

         -against-
                                                               NOTICE OF MOTION
  The City of New York, et al.,
                                                          Case No. 11-cv-5845 (LTS)(JCF)
                          Defendants.




               PLEASE TAKE NOTICE that upon the annexed Memorandum of Law dated

January 25, 2023, Declaration of Mary Lynne Werlwas dated January 25, 2023 and the exhibits

annexed thereto and upon all prior pleadings, the Plaintiff Class, by their counsel The Legal Aid

Society Prisoners’ Rights Project and Emery Celli Brinckerhoff Abady Ward & Maazel LLP,

will move this Court, before the Honorable Laura Taylor Swain, United States District Judge for

the United States District Court for the Southern District of New York, located at 500 Pearl

Street, New York, New York, for an Order:

               1.       Holding Defendant in civil contempt of Court for its failure to comply

with the Second Remedial Order ¶ 1(i)(c).

               2.       With respect to New Admissions, ordering:

                        A.     Defendants shall provide the parties with live access to the

       Dashboard system for new admission tracking, so the parties can independently and

       contemporaneously oversee the Department’s compliance.

                        B.     Defendants shall demonstrate the reliability of the Dashboard

       system by conducting weekly audits which will compare a representative sample of data

       on the Dashboard to video evidence of incarcerated individuals’ movements and other
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objective data. These audits will be provided to the parties and the Court (by filing on the

docket) within one week of each audit’s completion. Defendants may redact from the

docket any identifying information for an incarcerated person.

               C.      Defendants shall generate weekly reports regarding new

admissions intake which indicate: 1) the total time it took to process each new admission;

2) whether the clock was “stopped” for that new admission; 3) if so, the length of the

stoppage; and 4) if so, whether the clock was stopped due to a refusal, a court

appearance, a hospital visit, the posting of bail, or for another specific reason.

               D.      Defendants shall provide the above-described reports to the parties

and the Court (by filing on the docket) within one week of the end of the week reported

on. Defendants may redact from the docket any identifying information for an

incarcerated person.

       3.      With respect to Intra-facility Transfers, ordering:

               A.      Defendants must establish a reliable tracking system for the

amount of time intra-facility transfers spend in intake areas by March 15, 2023.

               B.      Beginning immediately and continuing until March 15, 2023, the

Department shall report to the parties and the Court (by filing on the docket) every two

weeks on its progress toward meeting the March 15 deadline, including but not limited

to: 1) the number of personnel trained on the ITS system; 2) a description of the content

of training provided; 3) the number of personnel who still remain to be trained; 4) any

technological or logistical improvements made toward a reliable ITS system; and 5) what

technological or logistical improvements still remain to be made.




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                       C.     Beginning on March 15, 2023 at the latest, Defendants must

       demonstrate the reliability of the ITS tracking system by conducting weekly audits that

       compare a representative sample of the data recorded through the system to video of

       incarcerated individuals’ movements. The results of such audits must be provided to the

       parties and the Court (by filing on the docket) within one week of each audit’s

       completion. Defendants may redact from the docket any identifying information for an

       incarcerated person.

                       D.     Beginning on March 15, 2023 at the latest, Defendants shall

       generate weekly reports regarding intra-facility transfer stays in intake areas, which

       indicate: 1) the total time each person spent in any intake area during the transfer process;

       2) how much of that time was spent in the intake area of the facility from which the

       person was moved; and 3) how much of that time was spent in the intake area of the

       facility to which the person was moved.

                       E.     Defendants shall provide the above-described reports to the parties

       and the Court (by filing on the docket) within one week of the end of the week reported

       on. Defendants may redact from the docket any identifying information for an

       incarcerated person.

               4.      For such other relief as this Court deems just and proper.

               5.      Counsel for Plaintiff Class certify that they have used their best efforts to

resolve informally the matters raised in this Motion.

               PLEASE TAKE FURTHER NOTICE that, in accordance with this Court’s

Order of January 13, 2023, Defendant shall file their opposition to this motion by February 8,

2023, and Plaintiffs shall file their reply by February 15, 2023. See Dkt. No. 497.



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Dated: January 25, 2023
       New York, New York

                                              THE LEGAL AID SOCIETY

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                                                V0DU\/\QQH:HUOZDV
                                              Mary Lynne Werlwas
                                              David Billingsley
                                              Katherine Haas
                                              Kayla Simpson
                                              199 Water Street, 6th Floor
                                              New York, New York, 10038
                                              Telephone: (212) 577-3530
                                              mlwerlwas@legal-aid.org


                                              EMERY CELLI BRINCKERHOFF
                                              ABADY WARD & MAAZEL LLP

                                                          V
                                              _________________________
                                              Jonathan S. Abady
                                              Debra L. Greenberger
                                              Sana Mayat
                                              Nairuby L. Beckles
                                              600 Fifth Avenue, 10th Floor
                                              New York, New York, 10020
                                              Telephone: (212) 763-5000
                                              jabady@ecbawm.com




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